Case: 1:21-cr-00085-SJDNIVEB: SIAPESIDSTRICIGHIRT1 of 1 PAGEID #: 43

SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff
Vv. Case No. 1:21-cr-00085
TRES GENCO
Deteteha: CRIMINAL MINUTES before

Magistrate Judge Stephanie K. Bowman
Courtroom Deputv: Kevin Moser

Court Reporter: CourtSmart (Session ID#_/7Z2Z_ ) Date/Time: 7/23/21 @ 1:30 PM

United States Attorney: Megan Gaffney Painter

Defendant Attorney: Richard Monahan (FPD) Interpreter: N/A

C1 By telephone By videoconferencing Def(oespioes not consent to proceed

Initial Appearance: [_]Complaint; (Indictment; [_JJnformation; [petition for supervised release[| Rule 5(c)/32.1 Proceedings
(J Counsel present ([] Superseding Indictment [_] Pretrial Release Violation

(-] Defendant informed of charges and potential penalties [_] Defendant informed of nature of supervised release violation(s)

[1] Defendant informed of his /her rights [1] Defendant provided copy of charging document [1] copy provided to counsel (if sealed)
[J Government moves for defendant to be detained pending detention hearing
([] Financial affidavit presented to the Court/Defendant [[] Defendant informed of right to consulate notification (if applicable)

() Counsel appointed (] FPD [[] CJA) [7 Charging document unsealed upon oral motion of the United States

[1] Government informed of requirements of Fed. R. Crim. P. 5(f) (_] Defendant did not contest detention at this time
Detention: BX] Defendant to be detained pending trial pursuant to pretrial detention order

 

Detention is moot-active parole/probation detainer

 

 

Plaintiff mater [_] Detention is moot - serving state sentence
Defendant Witness J Home Incarceration
JOR [[] Secured with [_]Electronic Monitor [[] Other [_]Home Detention [[] Curfew

 

[-]Location Monitoring [TF] GPs [J] RF [[] Stand Alone

Special Conditions of Release:[_]Pretrial/Probation Supervision [] Drug testing & Treatment []maintain employment & verify

[_Jrefrain from all/excessive alcohol [_]narcotic drugs unless prescribed[juse/possession of firearms [_]Travel Restricted to

) no contact with any potential victim or witness, to include co-defendants [_] resolve all outstanding warrants [—] Surrender Passport
7] Do not obtain passport [_] Mental Health Eval/Treatment

Pretrial Bond Violation Hearing:
[(-] bond revoked - defendant detained pending trial [_Jbond continued [[]bond modified:

 

Preliminary Exam Hearing set
Preliminary Exam:{(_]Probable Cause found; [7] not found; [F] waived; [[] bond continued/denied
AUSA Witnesses: Defendant Witnesses:

 

 

 

 

AUSA Exhibits: Defendant Exhibits:

 

 

 

Arraignment on Indictment [(] Superseding Indictment [[] Second Superseding Indictment

Defendant waives reading Defendant pleads: [[] GUILTY NOT GUILTY
[-] PSI ordered [[]Sentencing set for
Case to proceed before JUDGE DLOTT

 

Removal Hearing (Rule Sc or Rule 32.1):

 

(J) Defendant waives Identity Hearing (1) Defendant waives Detention Hearing in this district
[J Defendant waives Preliminary Hearing in this district

[1 Commitment to Another District Ordered (L] Removed to

([] Probable Cause Found

[_] Defendant to voluntarily report to charging district no later than

 

Remarks:
